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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF DELAWARE

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 SHIVA STEIN,                                               :
                                                            :
                   Plaintiff,                               :   Civil Action No. ______________
                                                            :
 v.                                                         :   COMPLAINT FOR VIOLATIONS OF
                                                            :   SECTIONS 14(a) AND 20(a) OF THE
 MID-CON ENERGY PARTNERS, LP,                               :   SECURITIES EXCHANGE ACT OF
 TRAVIS GOFF, BOB BOULWARE, FRED                            :   1934
 REYNOLDS, and CAPERTON WHITE,                              :
                                                            :   JURY TRIAL DEMANDED
                   Defendants.                              :
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        Shiva Stein (“Plaintiff”), by and through her attorneys, alleges the following upon

information and belief, including investigation of counsel and review of publicly-available

information, except as to those allegations pertaining to Plaintiff, which are alleged upon personal

knowledge:

        1.       This is an action brought by Plaintiff against Mid-Con Energy Partners, LP (“Mid-

Con” or the “Partnership”) and the members of Mid-Con’s board of directors (the “Board” or the

“Individual Defendants” and collectively with the Partnership, the “Defendants”) for their

violations of Sections 14(a) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange

Act”), 15 U.S.C. §§ 78n(a), 78t(a), and SEC Rule 14a-9, 17 C.F.R. 240.14a-9 and 17 C.F.R. §

244.100, in connection with the proposed merger between Mid-Con and Contango Oil & Gas

Company and its affiliates (“Contango”).

        2.       Defendants have violated the above-referenced sections of the Exchange Act by

causing a materially incomplete and misleading Registration Statement on Form S-4 (the

“Registration Statement”) to be filed on November 20, 2020 with the United States Securities and

Exchange Commission (“SEC”) and disseminated to the Partnership’s unitholders.                    The
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Registration Statement was filed in connection with a proposed transaction whereby Michael

Merger Sub LLC, a Delaware limited liability company and a wholly-owned, direct subsidiary of

Contango (“Merger Sub”), will merge with Mid-Con, with Merger Sub surviving as a wholly

owned subsidiary of Contango (the “Proposed Transaction”). Pursuant to the terms of the

definitive agreement and plan of merger the companies entered into (the “Merger Agreement”),

each Mid-Con unitholder will receive 1.7500 Contango shares (the “Merger Consideration”).

        3.      As discussed below, the Registration Statement contains materially incomplete and

misleading representations and information, in violation of Sections 14(a) and 20(a) of the

Exchange Act. Specifically, the Registration Statement contains materially incomplete and

misleading information concerning the analyses performed by the Partnership’s Conflicts

Committee’s financial advisor, Petrie Partners Securities, LLC (“Petrie Partners”), in support of

its fairness opinion.

        4.      It is imperative that the material information that has been omitted from the

Registration Statement is disclosed to the Partnership’s unitholders.

        5.      For these reasons and as set forth in detail herein, Plaintiff seeks to enjoin

Defendants from taking any steps to consummate the Proposed Transaction unless and until the

material information discussed below is disclosed to Mid-Con’ unitholders or, in the event the

Proposed Transaction is consummated, to recover damages resulting from the Defendants’

violations of the Exchange Act.

                                  JURISDICTION AND VENUE

        6.      This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange

Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiff alleges

violations of Sections 14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9.




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        7.      Personal jurisdiction exists over each Defendant either because the Defendant

conducts business in or maintains operations in this District, or is an individual who is either

present in this District for jurisdictional purposes or has sufficient minimum contacts with this

District as to render the exercise of jurisdiction over Defendant by this Court permissible under

traditional notions of fair play and substantial justice.

        8.      Venue is proper in this District under Section 27 of the Exchange Act, 15 U.S.C. §

78aa, as well as under 28 U.S.C. § 1391, because Mid-Con was formed in this District.

                                              PARTIES

        9.      Plaintiff is, and has been at all relevant times, the owner of Mid-Con common units

and has held such units since prior to the wrongs complained of herein.

        10.     Individual Defendant Travis Goff (“Goff”) has been a member of the Board since

June 2020. Goff owns approximately 28% of the outstanding shares of Common Stock of

Contango.

        11.     Individual Defendant Bob Boulware has served as a member of the Board since

June 2020 and serves on the Conflicts Committee.

        12.     Individual Defendant Fred Reynolds has served as a member of the Board since

June 2020 and serves on the Conflicts Committee.

        13.     Individual Defendant Caperton White has served as a member of the Board since

June 2020 and serves on the Conflicts Committee.

        14.     Defendant Mid-Con a Delaware limited partnership and maintains its principal

offices at 2431 E. 61st Street, Suite 800, Tulsa, Oklahoma. The Partnership’s common units trade

on the NASDAQ Stock Exchange under the symbol “MCEP.”

        15.     The defendants identified in paragraphs 10-13 are collectively referred to as the

“Individual Defendants” or the “Board.”


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        16.       The defendants identified in paragraphs 10-14 are collectively referred to as the

“Defendants.”

                                  SUBSTANTIVE ALLEGATIONS

A.      The Proposed Transaction

        17.       Mid-Con acquires, owns, develops, and produces oil and natural gas properties in

North America. The Partnership’s properties are primarily located in the Mid-Continent, Big

Horn, and Powder River Basin regions of the United States in Oklahoma and Wyoming areas. As

of December 31, 2019, its total estimated proved reserves were 25.6 million barrel of oil equivalent

(MMBoe). Mid-Con Energy GP, LLC serves as the general partner of Mid-Con Energy Partners,

LP. The Partnership was founded in 2011 and is headquartered in Tulsa, Oklahoma.

        18.       On October 26, 2020, the Partnership and Contango jointly announced the

Proposed Transaction:

                  FORT WORTH, Texas and TULSA, Okla., Oct. 26, 2020 (GLOBE
                  NEWSWIRE) -- Contango Oil & Gas Company (“Contango”)
                  (NYSE American: MCF) and Mid-Con Energy Partners, LP (“Mid-
                  Con”) (NASDAQ: MCEP) today announced they have entered into
                  an agreement to combine in an all-stock merger transaction. The
                  combination continues Contango’s consolidation strategy, increases
                  its exposure to oil reserves at an attractive price, increases corporate
                  margins via scale and further cost rationalization, and amplifies
                  Contango’s ability to play offense amid the dislocation in the sector,
                  while providing Mid-Con’s unitholders with greater liquidity,
                  financial stability and opportunities for growth on a larger platform.

                  HIGHLIGHTS

              •   Acquisition of PDP heavy reserves by Contango at an attractive
                  unlevered return
              •   Accretive to Contango’s reserve base
              •   Mid-Con’s assets oil weighted with low production decline profile,
                  complementing Contango’s higher production and cash flow profile
              •   Leverages Contango’s familiarity with Mid-Con’s assets and
                  operations via Mid-Con’s Management Services Agreement


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      •   Offers Mid-Con’s unitholders enhanced liquidity, financial stability
          and opportunities for growth through a larger platform
      •   Further cost rationalization expected to be realized via consolidation
          of the entities
      •   Immediate free cash flow accretion(1)
      •   Enhanced liquidity for the combined entity
      •   Maintains strong balance sheet and low leverage profile of
          Contango
      •   Maintains simple capital structure comprised of bank debt and
          common equity
      •   Adds PUD inventory with low CAPEX requirement with
          opportunity for near term conversion to PDP

          TRANSACTION DETAILS

          Under the terms of the merger agreement, Mid-Con unitholders will
          receive 1.75 shares of Contango common stock for each Mid-Con
          common unit owned, representing a 5 percent premium based on a
          15-day volume weighted average price. This exchange ratio implies
          an enterprise value for the combined entity in excess of $400 million
          based on Friday’s closing price. Upon completion of the merger and
          closing of the concurrently announced private placement of
          Contango common stock, Contango shareholders will own
          approximately 87 percent of the combined company and Mid-Con
          unitholders will own approximately 13 percent of the combined
          company on a fully diluted basis.

          The transaction, which is expected to close in late 2020 or early
          2021, has been unanimously approved by the conflicts committee of
          the board of directors of Mid-Con and by the full board of directors
          of Mid-Con, and by the disinterested directors of the board of
          directors of Contango. Voting agreements have been signed by over
          50% of holders on both sides of the transaction, including Goff
          Capital. The closing is subject to customary shareholder and
          unitholder approvals and other customary conditions to closing.
          Contango’s senior management team will run the combined
          company, and Contango’s board of directors will remain intact. The
          combined company will be headquartered in Fort Worth, TX but
          will continue to maintain a presence in both the Houston and
          Oklahoma markets.




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         MANAGEMENT COMMENTARY

         Wilkie Colyer, Contango’s Chief Executive Officer stated, “This
         merger is exactly the type of transaction we look for to enhance
         value for our shareholders in the current market. We were able to
         substantially increase our reserve base and cash flow in an accretive
         transaction while meeting the needs of Mid-Con unitholders by
         further rationalizing their cost structure and mitigating their
         refinancing risk by combining our respective credit facilities. In that
         sense, this is truly a win for both parties involved in the merger. We
         of course have great familiarity with the Mid-Con assets having a
         Management Services Agreement with them and having brought on
         many of their employees, which has meaningfully enhanced
         Contango’s expertise. This transaction is simply the next step, and
         certainly not our last, in our stated goal of consolidating a sector that
         is in dire need of it. This combination increases our exposure to long
         lived oil reserves and is accretive to Contango shareholders. Our
         definition of accretive, by the way, is that it increases the intrinsic
         value of Contango on a per share basis, and this transaction certainly
         fits that bill. It also benefits Mid-Con’s unitholders by offering them
         enhanced liquidity, financial stability and opportunities for growth
         on a larger platform. We welcome Mid-Con lenders, unitholders,
         and employees into the Contango family.”

         Bob Boulware, the chairman of Mid-Con’s board of directors and
         its conflicts committee of independent, disinterested directors,
         stated “This merger was negotiated by our conflicts committee,
         which determined, with the advice of its financial and legal advisors,
         that the consideration offered in the merger is fair, from a financial
         point of view, to Mid-Con’s unaffiliated public unitholders. We are
         pleased to be able to provide our unitholders with the opportunity to
         transition at an attractive exchange ratio to ownership of shares in a
         larger, better capitalized company that is well positioned for future
         growth.”

         BORROWING BASE

         Contango has received commitments from its and Mid-Con’s
         lenders that, effective upon the closing of the merger with Mid-Con,
         Contango’s borrowing base on its revolving credit facility will be
         increased from $75 million to $130 million, with the next regular
         redetermination scheduled for May 1, 2021.

         FINANCIAL AND OPERATIONAL UPDATE

         Contango ended the third quarter with $66 million of debt



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               outstanding on its $75 million borrowing base credit facility and
               approximately $8 million of liquidity. Contango’s sales volumes for
               the third quarter are in the range of 16,500 – 17,000 Boe/d, which is
               at the high end of the original 14,000 – 17,000 Boe/d guidance.
               Realized pricing for the third quarter, without the benefit of hedges,
               was in the range of $18.85 – 19.15 per Boe. Lastly, we incurred
               approximately $1.5 million of capital expenditures during the
               quarter.

               ADVISORS

               Intrepid Partners, LLC is serving as financial advisor and Gibson,
               Dunn & Crutcher LLP is serving as legal advisor to Contango. Petrie
               Partners, LLC is serving as financial advisor and Pillsbury Winthrop
               Shaw Pittman, LLP is serving as legal advisor to Mid-Con.

                                               ***

        19.    The Board has unanimously agreed to the Proposed Transaction. It is therefore

imperative that Mid-Con’ unitholders are provided with the material information that has been

omitted from the Registration Statement.

B.      The Materially Incomplete and Misleading Registration Statement

        20.    On November 23, 2020, Mid-Con and Contango jointly filed the Registration

Statement with the SEC in connection with the Proposed Transaction. The Individual Defendants

were obligated to carefully review the Registration Statement before it was filed with the SEC and

disseminated to the Partnership’s unitholders to ensure that it did not contain any material

misrepresentations or omissions. However, the Registration Statement misrepresents and/or omits

material information regarding the Proposed Transaction, in violation of Sections 14(a) and 20(a)

of the Exchange Act.

Omissions and/or Material Misrepresentations Concerning Financial Projections

        21.    The Registration Statement fails to provide material information concerning

financial projections by management and relied upon by Petrie Partners in its analyses. The

Registration Statement discloses management-prepared financial projections for the Partnership


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which are materially misleading. The Registration Statement indicates that in connection with the

rendering of its fairness opinion, the management of Mid-Con and Contango prepared certain non-

public financial forecasts (the “Contango Management Projections for Contango,” “Contango

Management Projections For Mid-Con,” and “Contango Management and Mid-Con Projections

for Expected Synergies and Cost Savings” and together, the “Projections”) and provided them to

the Board and Petrie Partners with forming a view about the stand-alone and pro forma valuations.

Accordingly, the Registration Statement should have, but fails to provide, certain information in

the projections that managements provided to the Board and its financial advisor. Courts have

uniformly stated that “projections … are probably among the most highly-prized disclosures by

investors. Investors can come up with their own estimates of discount rates or [] market multiples.

What they cannot hope to do is replicate management’s inside view of the company’s prospects.”

In re Netsmart Techs., Inc. S’holders Litig., 924 A.2d 171, 201-203 (Del. Ch. 2007).

       22.     For the Projections, the Registration Statement provides values for the non-GAAP

(Generally Accepted Accounting Principles) financial metrics for fiscal years 2021 through 2022:

EBITDAX and Levered Free Cash Flow, but fails to provide all line items used to calculate these

metrics or a reconciliation of these non-GAAP metrics to their most comparable GAAP measures

in direct violation of Regulation G and consequently Section 14(a).

       23.     When a company discloses non-GAAP financial measures in a registration

statement that were relied on by a board of directors, the company must, pursuant to SEC

regulatory mandates, also disclose all projections and information necessary to make the non-

GAAP measures not misleading, and must provide a reconciliation (by schedule or other clearly

understandable method) of the differences between the non-GAAP financial measure disclosed or




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released with the most comparable financial measure or measures calculated and presented in

accordance with GAAP. 17 C.F.R. § 244.100.

       24.     The SEC has noted that:

               companies should be aware that this measure does not have a
               uniform definition and its title does not describe how it is calculated.
               Accordingly, a clear description of how this measure is calculated,
               as well as the necessary reconciliation, should accompany the
               measure where it is used. Companies should also avoid
               inappropriate or potentially misleading inferences about its
               usefulness. For example, "free cash flow" should not be used in a
               manner that inappropriately implies that the measure represents the
               residual cash flow available for discretionary expenditures, since
               many companies have mandatory debt service requirements or other
               non-discretionary expenditures that are not deducted from the
               measure.

       25.     Thus, to cure the Registration Statement and the materially misleading nature of the

forecasts under SEC Rule 14a-9 as a result of the omitted information in the Registration

Statement, Defendants must provide a reconciliation table of the non-GAAP measures to the most

comparable GAAP measures to make the non-GAAP metrics included in the Registration

Statement not misleading.

Omissions and/or Material Misrepresentations Concerning Financial Analyses

       26.     With respect to Petrie Partners’ Discounted Cash Flow Analysis for Mid-Con, the

Registration Statement fails to disclose: (i) the four price case scenario representing long-term

potential future benchmark prices per barrel of oil and per million British thermal units of natural

gas; (ii) the adjustments made to these prices to reflect location and quality differentials; (iii) the

inputs and assumptions underlying the discount rates ranging from 10% to 25%; (iv) the value of

future estimated general and administrative expenses, commodity derivatives, cash taxes, other

assets and liabilities and estimated long-term debt and estimated net working capital as of June 30,

2020; and (v) the number of fully diluted units of Mid-Con and fully diluted shares of Contango.



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          27.   With respect to Petrie Partners’ Comparable Transaction Analysis, the Registration

Statement fails to disclose the individual multiples and financial metrics for the transactions

observed by Petrie Partners in the analysis.

          28.   With respect to Petrie Partners’ Capital Market Comparison Analysis, the

Registration Statement fails to disclose the individual multiples and financial metrics for the

companies observed by Petrie Partners in the analysis.

          29.   With respect to Petrie Partners’ Going Concern Analysis, the Registration

Statement fails to disclose: (i) for Mid-Con, the inputs and assumptions underlying the calculation

of the terminal EBITDA multiples of 3.5x, 4.5x, and 5.5x applied to estimated 2022 EBITDA; (ii)

for Contango, the inputs and assumptions underlying the calculation of the terminal EBITDA

multiples of 4.0x, 5.0x, and 6.0x applied to estimated 2022 EBITDA; (iii) for Mid-Con, the inputs

and assumptions underlying the calculation of the discount rates ranging from 12.5% to 17.5%;

(iv) for Contango, the inputs and assumptions underlying the calculation of the discount rates

ranging from 10% to 15%; and (v) for both Mid-Con and Contango, the value of each company’s

long-term debt and cash as of June 30, 2020.

          30.   In sum, the omission of the above-referenced information renders statements in the

Registration Statement materially incomplete and misleading in contravention of the Exchange

Act.

                                     CLAIMS FOR RELIEF

                                               COUNT I

                 On Behalf of Plaintiff Against All Defendants for Violations of
           Section 14(a) of the Exchange Act and Rule 14a-9 and 17 C.F.R. § 244.100

          31.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.



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       32.     Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that proxy communications with unitholders shall not contain “any statement which,

at the time and in the light of the circumstances under which it is made, is false or misleading with

respect to any material fact, or which omits to state any material fact necessary in order to make

the statements therein not false or misleading.” 17 C.F.R. § 240.14a-9.

       33.     Each of the Defendants reviewed and authorized the dissemination of the

Registration Statement and the use of their name in the Registration Statement, which fails to

provide critical information regarding, among other things, the financial projections that were

prepared by the Partnership and relied upon by the Board in approving the Proposed Transaction.

       34.     In so doing, Defendants made untrue statements of fact and/or omitted material

facts necessary to make the statements made not misleading. Each of the Individual Defendants,

by virtue of their roles as officers and/or directors, were aware of the omitted information but failed

to disclose such information, in violation of Section 14(a). The Individual Defendants were

therefore negligent, as they had reasonable grounds to believe material facts existed that were

misstated or omitted from the Registration Statement, but nonetheless failed to obtain and disclose

such information to unitholders although they could have done so without extraordinary effort.

       35.     Defendants were, at the very least, negligent in preparing and reviewing the

Registration Statement.     The preparation of a Registration Statement by corporate insiders

containing materially false or misleading statements or omitting a material fact constitutes

negligence.   Defendants were negligent in choosing to omit material information from the

Registration Statement or failing to notice the material omissions in the Registration Statement

upon reviewing it, which they were required to do carefully. Indeed, Defendants were intricately




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involved in the process leading up to the signing of the Merger Agreement and the preparation and

review of strategic alternatives.

          36.   The misrepresentations and omissions in the Registration Statement are material to

Plaintiff. Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                             COUNT II

 On Behalf of Plaintiff Against the Individual Defendants for Violations of Section 20(a) of
                                      the Exchange Act

          37.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          38.   The Individual Defendants acted as controlling persons of Mid-Con within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

directors of Mid-Con, and participation in and/or awareness of the Partnership’s operations and/or

intimate knowledge of the incomplete and misleading statements contained in the Registration

Statement filed with the SEC, they had the power to influence and control and did influence and

control, directly or indirectly, the decision making of Mid-Con, including the content and

dissemination of the various statements that Plaintiff contends are materially incomplete and

misleading.

          39.   Each of the Individual Defendants was provided with or had unlimited access to

copies of the Registration Statement and other statements alleged by Plaintiff to be misleading

prior to and/or shortly after these statements were issued and had the ability to prevent the issuance

of the statements or cause the statements to be corrected.




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       40.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of Mid-Con, and, therefore, is presumed to have had the

power to control or influence the particular transactions giving rise to the Exchange Act violations

alleged herein, and exercised the same. The omitted information identified above was reviewed

by the Board prior to voting on the Proposed Transaction. The Individual Defendants were directly

involved in the making of the Registration Statement.

       41.     In addition, as the Registration Statement sets forth at length, and as described

herein, the Individual Defendants were involved in negotiating, reviewing, and approving the

Merger Agreement. The Registration Statement purports to describe the various issues and

information that the Individual Defendants reviewed and considered. The Individual Defendants

participated in drafting and/or gave their input on the content of those descriptions.

       42.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       43.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9, by

their acts and omissions as alleged herein. By virtue of their positions as controlling persons, these

defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate

result of Individual Defendants’ conduct, Plaintiff will be irreparably harmed.

       44.     Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                     RELIEF REQUESTED

       WHEREFORE, Plaintiff demands injunctive relief in her favor and against the Defendants

jointly and severally, as follows:


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          A.     Preliminarily and permanently enjoining Defendants and their counsel, agents,

employees and all persons acting under, in concert with, or for them, from proceeding with,

consummating, or closing the Proposed Transaction, unless and until Defendants disclose the

material information identified above which has been omitted from the Registration Statement;

          B.     Rescinding, to the extent already implemented, the Merger Agreement or any of

the terms thereof, or granting Plaintiff rescissory damages;

          C.     Directing the Defendants to account to Plaintiff for all damages suffered as a result

of their wrongdoing;

          D.     Awarding Plaintiff the costs and disbursements of this action, including reasonable

attorneys’ and expert fees and expenses; and

          E.     Granting such other and further equitable relief as this Court may deem just and

proper.

                                           JURY DEMAND

          Plaintiff demands a trial by jury.

 Dated: November 25, 2020                           RIGRODSKY & LONG, P.A.

                                               By: /s/ Gina M. Serra
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                                                   Brian D. Long (#4347)
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